  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 1 of 8                    PageID #: 1




                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE

 SCOTT FRECHETTE, of Ocala, Marion           )
 County, Florida,                            )
                                             )
 Plaintiff,                                  )
                                             )
 v.                                          )
                                             )
 NORMAN GAUDETTE of Biddeford,               )
 York County, Maine,                         )
                                             )
 In his Individual Capacity                  )
                                             )
 ROGER BEAUPRE, of Biddeford, York           )
 County, Maine,                              )
                                             )
 In his Official Capacity as Chief of        )
 Police for the Biddeford Police             )
 Department and in his Individual            )
 Capacity,                                   )
                                             )
 and                                         )
                                             )
 CITY OF BIDDEFORD                           )
 a municipality in the state of Maine,       )
                                             )
 Defendants                                  )

                                       COMPLAINT
                              (WITH DEMAND FOR JURY TRIAL)

        NOW COMES Plaintiff and hereby complains against Defendants as follows:

                                PRELIMINARY STATEMENT

        1.     Scott Frechette (“Frechette”) was sexually assaulted by Biddeford Police

Department Officer Norman Gaudette in or around 1989-1990 when Frechette was a minor.

Norman Gaudette used his power and authority as a law enforcement officer to secure

Frechette’s trust to sexually abuse him and to ensure Frechette’s silence about his abuse. Chief

Roger Beaupre was Chief of the Biddeford Police Department before, during, and after the times
                                              1
  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 2 of 8                      PageID #: 2




Frechette was sexually abused. Chief Roger Beaupre was given information prior to Frechette’s

abuse such that he was aware of and/or should have been aware that Norman Gaudette and at

least one other Biddeford Police Officer had been and were sexually abusing young boys. As

Chief, Roger Beaupre turned a blind eye and failed to prevent this abuse. Chief Roger Beaupre’s

failure to act meant that Norman Gaudette was able to sexually assault Frechette. Frechette

brings this action against Norman Gaudette, Chief Roger Beaupre, and the City of Biddeford

pursuant to 42 U.S.C. § 1983.

                                            PARTIES

       2.      Plaintiff Scott Frechette (“Frechette”) is an individual residing in Ocala, Florida.

       3.      At all times relevant to this Complaint, Frechette resided in Biddeford, Maine.

       4.      Defendant Norman Gaudette (“Officer Gaudette”) is an individual residing in

Biddeford, Maine.

       5.      At all times relevant to this Complaint, Officer Gaudette was a police officer with

the Biddeford Police Department (“BPD”) and was acting under color of state law as a BPD police

officer employed by BPD and the City of Biddeford.

       6.      Defendant Roger Beaupre (“Chief Beaupre”) is the Chief of Police for the BPD and

was the Chief of Police for the BPD at all times relevant to this Complaint and was acting under

color of state law as the Chief of BPD.

       7.      Defendant Chief Beaupre is and was the final policy maker for BPD.

       8.      Defendant City of Biddeford is a municipality in the state of Maine.

       9.      Defendants Roger Beaupre, in his Official Capacity as Chief of BPD, and City of

Biddeford are collectively referred to as “Municipal Defendants.




                                                 2
  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 3 of 8                       PageID #: 3




                                   STATEMENT OF FACTS

       10.     Officer Gaudette approached Frechette around the time that Frechette was 17

years old.

       11.     Officer Gaudette approached Frechette when Frechette was having troubles at

home and needed a place to stay.

       12.     Officer Gaudette offered to purchase a hotel room for Frechette.

       13.     Officer Gaudette informed Frechette that the hotel room was purchased with

money through the police department.

       14.     Frechette, then a 15 year old boy, trusted Officer Gaudette given his position of

authority and trust as BPD officer and believed he was assisting him in this role.

       15.     Officer Gaudette rented Frechette a room at the Sleepy Hollow Motel in

Biddeford, Maine.

       16.     Officer Gaudette brought Frechette to the Sleepy Hollow Motel and accompanied

him inside.

       17.     Officer Gaudette left and returned.

       18.     Officer Gaudette then sat on the bed next to Frechette.

       19.     Officer Gaudette then proceeded to force sex acts on Frechette, including forced

manual and oral sex on Frechette, as well as attempted forced anal sex.

       20.     Gaudette also forced and/or attempted to force Frechette to performed manual and

oral sex acts on Gaudette.

       21.     Officer Gaudette used his power and authority as a BPD officer to earn

Frechette’s trust, sexually assault him, and keep him from disclosing this sexual assault.

       22.     Prior to the time that Officer Gaudette sexually assaulted Frechette, information

had been conveyed to Chief Beaupre that Officer Gaudette and at least one other BPD officer
                                                 3
  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 4 of 8                     PageID #: 4




had committed sexual assaults against minors in Biddeford. Additionally, among other actions,

Officer Gaudette had been engaged in other sexual assaults against minors in Biddeford and

Chief Beaupre knew and/or should have known that Officer Gaudette was a sexually fixated

pedophile, was dangerous to young men and should not be in a position as an officer of the BPD.

       23.     Chief Beaupre knew and/or should have known that BPD officers were sexually

assaulting minors based on the information that he was given, including but not limited to

Officer Gaudette’s sexual abuse of minors.

       24.     Despite receiving this information, Chief Beaupre took no steps to protect

Frechette or other minors in Biddeford from the sexual assaults. Additionally Chief Beaupre

engaged in a pattern of altering BPD internal affairs policies and establishing BPD policies that

provided him with the opportunity to control and manipulate BPD policies to allow Officer

Gaudette to remain in his position during and after sexual abuse allegations were made against

Officer Gaudette and prior to the time that he sexually assaulted Frechette. Chief Beaupre also

failed to provide mandatory notification to the then-State of Maine Department of Human

Services (“DHS”), despite his obligation to do so, of the sexual abuse by Officer Gaudette. Had

Chief Beaupre done so, then DHS would have investigated Officer Gaudette and that

independent investigation would have shown, prior to Frechette’s abuse by Officer Gaudette, that

Officer Gaudette had abused minor boys through his position as an officer of the BPD. Such an

investigation would have resulted in the separation of Officer Gaudette from the BPD prior to the

time that Officer Gaudette, using his position as an officer of the BPD, molested Frechette.

       25.     Frechette first discovered the involvement of Chief Beaupre and the City

sometime in 2014-2015 during the preliminary investigations into the claims made in this

Complaint.



                                                4
  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 5 of 8                      PageID #: 5




                                    CLAIMS FOR RELIEF

                                          COUNT I
                                      42 U.S.C. § 1983
                          (Chief Beaupre in his Individual Capacity)

         26.   Frechette repeats and realleges Paragraphs 1 through 25 as if set forth fully herein.

         27.   At all times relevant to this Complaint, Frechette had a Constitutional right of

liberty to bodily integrity, including but not limited to a freedom from sexual abuse by BPD police

officers.

         28.   Officer Gaudette was a subordinate to Chief Beaupre at all times relevant to this

Complaint.

         29.   Officer Gaudette violated Frechette’s Constitutional rights, as set forth more fully

above.

         30.   Chief Beaupre’s failure to investigate complaints against Gaudette and/or

supervise Gaudette’s misconduct constituted supervisory encouragement, condonation or

acquiescence amounting to deliberate indifference.

         31.   Chief Beaupre’s actions and/or inactions described in the foregoing paragraphs

were affirmatively linked to Gaudette’s violation of Frechette’s constitutional rights.

         32.   Frechette did not know and had no reason to know that the deliberately indifferent

actions and/or omissions of Chief Beaupre were the cause of his injuries and the violations of his

Constitutional rights.

         33.   As a result of Chief Beaupre’s actions and inactions Frechette suffered damages,

including but not limited to severe psychological damages, post-traumatic stress disorder, pain,

suffering, humiliation, embarrassment, lost wages and permanent impairment.




                                                 5
  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 6 of 8                        PageID #: 6




                                            COUNT II
                                         42 U.S.C. § 1983
                                      (Municipal Defendants)

        34.    Frechette repeats and realleges Paragraphs 1 through 33 as if set forth fully herein.

        35.    At all times relevant to this Complaint, Frechette had a Constitutional right of

liberty to bodily integrity, including but not limited to a freedom from sexual abuse by BPD police

officers.

        36.    With deliberate indifference to the rights of minor citizens to be free from invasions

of bodily integrity and sexual assault by police, the Municipal Defendants encouraged, tolerated,

ratified, and acquiesced to a dangerous environment of sexual assaults against underage males by

BPD officers by:

        a. failing to conduct sufficient training or supervision;

        b. failing to adequately punish acts of sexual abuse; and,

        d. failing to properly or neutrally investigate citizen complaints of sexual abuse of minors;

        37.    Officer Gaudette and at least one other BPD officer engaged in a continuing,

widespread, and persistent pattern of conduct in violation of citizens’ constitutional rights to bodily

integrity and freedom from sexual assault.

        38.    At all times relevant to this Complaint, it was the longstanding widespread

deliberately indifferent custom, habit, practice and/or policy of the Municipal Defendants to permit

BPD officers to sexually assault minors, to fail to supervise BPD officers who were sexually

assaulting minors, and to fail to investigate reports of sexual assaults by BPD officers knowing

that these members of law enforcement posed a significant risk to the public.

        39.    These deliberately indifferent customs and/or tacit authorizations of the Municipal

Defendants were causes of the injury to Frechette’s constitutional rights to liberty of bodily

integrity and freedom from sexual assault by BPD officers.
                                                  6
  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 7 of 8                        PageID #: 7




        40.      Frechette did not know and had no reason to know that the deliberately indifferent

actions and/or omissions of the Municipal Defendants were the cause of his injuries and the

violations of his Constitutional rights.

        41.      Frechette was injured by the Municipal Defendants’ deliberate indifference to the

violations of his constitutional rights.

        42.      As a result of the Municipal Defendants’ actions and inactions Frechette suffered

damages, including but not limited to severe psychological damages, post-traumatic stress

disorder, pain, suffering, humiliation, embarrassment, lost wages and permanent impairment.

                                          COUNT III
                                        Sexual Assault
                          (Officer Gaudette in his Individual Capacity)

        43.      Frechette repeats and realleges Paragraphs 1 through 42 as if set forth fully herein.

        44.      Gaudette intentionally caused harmful and/or offensive sexual contact with

Frechette, including but not limited forced sexual acts.

        45.      Frechette was a minor at the time of these harmful and/or offensive sexual contacts.

        46.      As a result of Gaudette’s actions, Frechette suffered damages, including but not

limited to severe psychological damages, post-traumatic stress disorder, pain, suffering,

humiliation, embarrassment, lost wages and permanent impairment.

        WHEREFORE, Plaintiff requests this Court order the following:

        1.       Compensatory damages against each Defendant jointly and severally on all counts.

        2.       Punitive damages against Defendants Norman Gaudette and Roger Beaupre jointly

and severally.

        3.       Punitive damages against the Municipal Defendants on Count IV.

        4.       Reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1983.

        5.       Any other relief this Court deems just and proper.
                                                   7
  Case 2:17-cv-00172-LEW Document 1 Filed 05/10/17 Page 8 of 8              PageID #: 8




                                        JURY DEMAND

        Frechette demands a trial by jury on all counts of his Complaint.

Date: May 8, 2017                            /s/Walter F. McKee
                                             WALTER F. MCKEE, ESQ.
                                             Bar No. 7848
                                             McKee Law, LLC, P.A.
                                             133 State Street
                                             Augusta, ME. 04330
                                             (207) 620-8294

Date:    May 8, 2017                         /s/Matthew D. Morgan
                                             MATTHEW D. MORGAN, ESQ.
                                             Bar No. 5044




                                                8
